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SANGYE INCE-JOHANNSEN (OSB #193827)
Western Environmental Law Center
120 Shelton McMurphey Blvd, Ste 340
Eugene, OR 97401
(541) 778-6626 | Phone
sangyeij@westernlaw.org

SUSAN JANE BROWN (OSB #054607)
Western Environmental Law Center
4107 NE Couch St.
Portland, OR 97232
(503) 914-1323 | Phone
brown@westernlaw.org



                         UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                               MEDFORD DIVISION



KLAMATH-SISKIYOU WILDLANDS                         Civ. Case No. 1:20-cv-00952-AA
CENTER, OREGON WILD, and CASCADIA
WILDLANDS,
          Plaintiffs,                              REPLY MEMORANDUM IN
                                                   SUPPORT OF MOTION FOR
                  vs.                              JUDICIAL NOTICE

UNITED STATES FISH AND WILDLIFE
SERVICE, and UNITED STATES BUREAU
OF LAND MANAGEMENT,
           Defendants.



I.    Judicial Notice of The Delay Rule and FWS 2021b is Required by the
      Federal Register Act.

      Contrary to Defendants’ contentions relying on out-of-Circuit precedent, the

Ninth Circuit has recognized that the Federal Register Act, 44 U.S.C. § 1507, mandates

judicial notice of documents published in the Federal Register. United States v. Woods,

335 F.3d 993, 1001 (9th Cir. 2003) (“Far from abusing its discretion, the district court



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complied with federal law by judicially noticing the rule” under the Federal Register

Act); see also Adams v. United States, Civ. No. 03-0049, 2009 WL 2032378, *1 (D. Idaho

July 6, 2009) (“There is no dispute that Federal Register entries are appropriate subject

matter of which the Court may take judicial notice”) (citing Woods); contra Opp. Br. 6

(citing Hargis v. Access Cap. Funding, LLC, No. 4:09-CV-604 CDP, 2010 WL 5399222,

*1 (E.D. Mo. Dec. 23, 2010), vacated, 674 F.3d 783 (8th Cir. 2012)).

       Here, it is uncontested that Exhibit A (“Delay Rule”) was published in the

Federal Register. Therefore, under the plain language of the Federal Register Act,

confirmed by the Ninth Circuit in Woods, it is properly before the court on Plaintiffs’

motion for judicial notice. With respect to Exhibit B (“FWS 2021b”), this document was

explicitly and repeatedly referenced throughout the Delay Rule as an important

document concerning the status of the northern spotted owl. Because the Delay Rule is

properly before the Court under the Federal Register Act, and because FWS 2021b

gives necessary context to understand the import of the Delay Rule, it, too, is properly

before the court. See Wilson v. Frito-Lay North America, Inc., 260 F. Supp. 3d 1202,

1207 (N.D. Cal. May 26, 2017) (taking judicial notice of a letter from a public interest

group to FDA, because it provided context for FDA’s response, which the court had

taken notice of as a matter of public record).

II.    Judicial Notice of FWS 2021b is Also Permissible under Fed. R. Evid.

       201(b).

       In addition to the judicial notice requirement stemming from the Federal

Register Act, the court may—and should—take judicial notice of FWS 2021b because it

is a publicly available government document. Daniels-Hall v. Nat’l Educ. Ass’n, 629




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F.3d 992, 998–99 (9th Cir. 2010) (a court may take judicial notice under FED. R. EVID.

201(b) of government information published on website); Papai v. Harbor Tug and

Barge Co., 67 F.3d 203, 207 n.5 (9th Cir. 1995), rev’d on other grounds, 520 U.S. 548

(1997) (“judicial notice is properly taken of orders and decisions made by . . .

administrative agencies”), Mack v. S. Bay Beer Distribs., Inc., 798 F.2d 1279, 1282 (9th

Cir.1986) (court may take judicial notice of records and reports of state administrative

bodies), rev’d on other grounds, Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S.

104 (1991). Contrary to federal defendants’ contention, Opp. Br. 5–6, FWS 2021b is

highly relevant to this litigation for the three reasons set forth in KS Wild’s opening

memorandum in support of the instant motion, Dkt. 18, 7–10.

       Although defendants vaguely suggest that FWS 2021b concerns “matters that

are subject to reasonable dispute,” Br. 2, defendants do not actually dispute the

accuracy of FWS 2021b. This is pivotal, as the relevant case law does not ask whether

documents are hypothetically subject to reasonable dispute, but whether their accuracy

is actually reasonably disputed. See All. for the Wild Rockies v. Zinke, 265 F. Supp. 3d

1161, 1176 (D. Mont. 2017) (“Because Defendants do not dispute the accuracy of these

exhibits, the Court will take judicial notice of the government documents”); but see

Friends of the Clearwater v. Higgins, 2:20-cv-00243, 2021 WL 827015, *5 (D. Idaho Mar.

4, 2021) (courts may not take judicial notice of the contents of publicly available

government documents “for the truth of the matters asserted therein when the facts are

disputed”). As the government does not dispute the accuracy of FWS 2021b in the

context of this adversarial proceeding, nor point to any other authority disputing its




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accuracy, it cannot seriously contend that any “reasonable dispute” exists as to its

accuracy.1

III.   KS Wild’s Motion for Judicial Notice Does Not Attempt to Circumvent
       Record Review Principles.

       Federal defendants begin their opposition to KS Wild’s Motion for Judicial

Notice with a tutorial of the basic principles of judicial review of administrative

decisions pursuant to the Administrative Procedure Act, which typically focuses on a

“record review” of the agency’s contemporary decisionmaking process. Opp. Br. 1–6;

Lands Council v. Powell, 395 F.3d 1019, 1030 (9th Cir. 2004). Based on this overview,

defendants argue that KS Wild should have moved the Court to supplement or

complete the administrative record rather than seeking judicial notice pursuant to the

Federal Record Act and FED. R. EVID. 201, Opp. Br. 1–6, and that had KS Wild moved

to supplement the record, such a motion should be denied because the proffered

documents do not fit within a recognized exception2 to the record review rule, id., 8–9.




1 To the extent the government may later dispute the accuracy of FWS 2021b, the Court
could still take judicial notice of its existence and the findings therein and weigh them
accordingly. See Cal. Sportfishing Prot. All. v. Shiloh Group, LLC, 268 F. Supp. 3d 1029
(N.D. Cal. 2017). But KS Wild notes again that FWS described the information
contained in FWS 2021b as “align[ed] with [FWS]’s . . . obligat[ion] . . . to use the ‘most
appropriate, best available, high quality scientific and scholarly data and information’
to inform sound decisionmaking.” 86 Fed. Reg. 22,879.
2 See Sw. Ctr. for Biological Diversity v. U.S. Forest Serv., 100 F.3d 1443, 1450 (9th Cir.

1996) (“This circuit has only allowed extra-record materials: (1) if necessary to
determine whether the agency has considered all relevant factors and has explained its
decision, (2) when the agency has relied on documents not in the record, or (3) when
supplementing the record is necessary to explain technical terms or complex subject
matter . . . Extra-record documents may also be admitted when plaintiffs make a
showing of agency bad faith”) (internal quotes and references omitted); see also Powell,
395 F.3d at 1030.


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This rebuttal argument is a strawman, and this Court should pay it no attention in

resolving KS Wild’s Motion for Judicial Notice.

       KS Wild is not required to move this Court to supplement or complete the

administrative record because judicial notice pursuant to the Federal Register Act and

FED. R. EVID. 201 are appropriate. Indeed, KS Wild’s request for judicial notice is

consistent with the practice of the Ninth Circuit, which frequently takes judicial notice

of evidence without considering record review limitations. See Or. Nat. Desert Ass’n v.

BLM, 625 F.3d 1092, n.14 (9th Cir. 2010) (taking judicial notice of agency document

published years after the agency actions challenged in that case, without considering

record review limitations); Ctr. For Envtl Law and Policy v. U.S. Bureau of

Reclamation, 655 F.3d 1000, 1011 n.5 (9th Cir. 2011) (taking judicial notice of

government document published during pendency of appeal, without considering record

review limitations); Dine Citizens Against Ruining Our Env’t v. Bureau of Indian

Affairs, 932 F.3d 843, 848 n.1 (9th Cir. 2019) (taking judicial notice of subsequent

agency documents without considering record review limitations).

       Indeed, none of the cases cited by defendants in their opposition brief hold that

when judicial notice is appropriate, that the moving party must also demonstrate that

the proffered document(s) meets one or more of the record review exceptions.3 Instead,



3 Defendants argue that “the proffered evidence must be relevant to the question of
whether relief should be granted,” Opp. Br. 5 (citing cases), but the government
overstates the holdings in its cited cases. In City of Sausalito v. O’Neill, 386 F.3d 1186,
1223 n.2 (9th Cir. 2004), the Ninth Circuit declined to admit extra record evidence
because the proffered evidence went to whether the federal defendant had taken a final
agency action, a matter that was not before the appellate court. Given that the issue
was not before the court, the Ninth Circuit did not review the proffered evidence
because “[u]ntil there has been an agency consistency determination, there is nothing
for the federal courts to review. We decline to take judicial notice of the amendments to


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the cases discuss whether judicial notice is appropriate,4 whether the moving party

carried its burden to supplement or complete the record,5 or whether—without a motion

for judicial notice or to supplement/complete the record—the court may consider a

document under an exception to the record review requirement.6 These cases do not

conclude that judicially noticed documents must also fit within a record review

exception and therefore do not support defendants’ position that “if Plaintiffs’ proffered

exhibits were appropriate for the Court to take judicial notice of . . . Plaintiffs would

still have to demonstrate that each document meets an exception to the record review

rule.” Opp. Br. 8.




the Bay Plan that have been adopted by the Bay Commission because, even if we took
judicial notice, the amendments could have no legal significance in this appeal.” Id. The
District Court in Nw. Coal. for Alternatives to Pesticides v. U.S. E.P.A., 920 F. Supp. 2d
1168, 1175–76 (W.D. Wash. 2013) does not discuss relief, but instead cites to WildEarth
Guardians v. U.S. Fed. Emergency Mgmt. Agency, No. CV 10-863, 2011 WL 905656, *3
(D. Ariz. Mar. 15, 2011), which does discuss relief but focuses on cases and evidence
that go to whether the federal defendant had cured a failure to act during the pendency
of the litigation. Because KS Wild is not offering FWS 2021b in relation to a failure to
act claim or a similar procedural failing, the document need not be relevant to whether
this Court can grant relief because that issue is not before the Court in this Motion.
4 All. for the Wild Rockies v. Probert, 412 F. Supp. 3d 1188, 1197–98 (D. Mont.

2019), appeal dismissed sub nom. All. for the Wild Rockies v. Benson, No. 19-36001,
2020 WL 3443468 (9th Cir. June 10, 2020); All. for the Wild Rockies v. Marten, No. CV
16-35-M, 2016 WL 7174671, *3 (D. Mont. Oct. 3, 2016); Murakami v. United States, 46
Fed. Cl. 731, 738–40 (2000); Rybachek v. EPA, 904 F.2d 1276, 1296 n.25 (9th Cir. 1990);
City of Sausalito v. O’Neill, 386 F.3d 1186, 1223 n.2 (9th Cir. 2004).
5 Axiom Res. Mgmt., Inc. v. United States, 564 F.3d 1374, 1379–80 (Fed. Cir. 2009); Tri-

Valley CAREs v. U.S. Dep't of Energy, 671 F.3d 1113, 1130–31 (9th Cir. 2012); Nw.
Coal. for Alternatives to Pesticides v. EPA, 920 F. Supp. 2d 1168, 1175–76 (W.D. Wash.
2013).
6 Probert, 412 F. Supp. 3d at 1197–98; Tri-Valley CAREs, 671 F.3d at 1130–31; Marten,

2016 WL 7174671 at *2–3; Ctr. for Biological Diversity v. FWS, 450 F.3d 930, 943–44
(9th Cir. 2006); Ctr. For Biological Diversity v. EPA, 90 F. Supp. 3d 1177, 1197–201
(W.D. Wash. 2015).


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       And contrary to the contention of defendants, Opp. Br. 2 & n.1, review of claims

brought under the ESA citizen suit provision is not limited to the administrative record.

W. Watersheds Project v. Kraayenbrink, 632 F.3d 472 (9th Cir. 2010); Wash. Toxics

Coal. v. EPA, 413 F.3d 1024, 1034 (9th Cir. 2005); Conservation Congress v. U.S. Forest

Serv., 2:16-cv-00864, 2017 WL 4340254, *1–2 (E.D. Cal. Sept. 29, 2017) (“Under Ninth

Circuit law expressed in Washington Toxics Coalition and Kraayenbrink, then, there

can be no question that the Court in this case ‘may consider evidence outside the

administrative record for the limited purposes of reviewing Plaintiffs’ ESA claims’”

(internal citations and punctuation omitted)). For this additional reason, judicial notice

is appropriate and record review limitations do not apply with respect to KS Wild’s

claim under the ESA citizen suit provision seeking to compel BLM to reinitiate

consultation.

       Also contrary to defendants’ contention, courts including the Ninth Circuit

routinely take judicial notice of documents that post-date the agency decision being

challenged. See, e.g., Or. Nat. Desert Ass’n v. BLM, 625 F.3d 1092 n.14 (9th Cir. 2010)

(taking notice of BLM’s 2005 Handbook, in case challenging BLM decisions made in

2001); Ctr. for Envtl Law and Policy v. U.S. Bureau of Reclamation, 655 F.3d 1000,

1011 n.5 (9th Cir. 2011) (taking judicial notice of government document published

during pendency of appeal, and after the government actions challenged in that record

review case); City of Las Vegas v. FAA, 570 F.3d 1109, 1113 n. 1 (9th Cir. 2009) (taking

judicial notice of events that occurred “after the close of . . . administrative proceedings”

in a case governed by the APA). More importantly, FWS 2021b does not set forth new

information: rather, it summarizes information about the status of the northern spotted




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owl—and the threats it faces and the conservation measures it requires—that existed

at the time FWS completed its FY 2019 BiOp at issue here, rendering FWS 2021b

suitable for judicial consideration.7 See Bunker Hill Co. v. EPA, 572 F.2d 1286, 1292

(9th Cir. 1977) (considering extra-record materials because “the augmenting materials

were merely explanatory of the original record”); Indep. Min. Co. v. Babbitt, 105 F.3d

502, 511–12 (9th Cir. 1997) (holding that district court did not err reviewing non-record

document because “[i]t was merely supplemental evidence submitted in support of

appellee’s position”).

       To be clear, KS Wild is not seeking to supplement or complete the administrative

record in this case, and therefore is not required to demonstrate that FWS 2021b fits

within one of the exceptions to the record review rule. Powell, 395 F.3d at 1030.

Instead, this Court is required under the Federal Register Act to judicially notice the

Delay Rule, and should judicially notice FWS 2021b pursuant to FED. R. EVID. 201.




7 Even if the information contained in the Delay Rule and FWS 2021b were post-
decisional with respect to KS Wild’s claims challenging the FY 2019 BiOp, it cannot be
described as post-decisional with respect to KS Wild’s claim seeking to compel the
agencies to reinitiate consultation. Defendants’ attempt to recast KS Wild’s claim into a
challenge to the agencies’ determination that reinitiation was not required must fail.
See Yurok Tribe v. U.S. Bureau of Reclamation, 231 F. Supp. 3d 450, 469 (N.D. Cal.
2017) (lawsuits challenging agencies’ failure to reinitiate consultation under the ESA
are governed by the “failure to act” standard of review under 5 U.S.C. § 706(1)); Tanoh
v. Dow Chemical Co., 561 F.3d 945, 953 (9th Cir. 2009) (reciting the “well-established
rule that plaintiffs [are the] masters of their complaint”). KS Wild’s claim challenging
the agencies’ failure to reinitiate consultation, like any challenge to an agencies’ failure
to act, challenges inaction, not action, and therefore does not accrue at any particular
point in time. Cf. Wilderness Soc’y v. Norton, 434 F.3d 584, 588–89 (D.C. Cir. 2006)
(summarizing cases holding that claims seeking to compel agency action are not time-
barred even where the statute of limitations period has run after a statutory deadline
was missed).


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IV.   Conclusion.

      For the forgoing reasons, the Court should GRANT KS Wild’s Motion for Judicial

Notice of Exhibits A and B.

      Respectfully submitted June 29, 2021.

                                               /s/ Susan Jane M. Brown         .
                                              SUSAN JANE BROWN (OSB #054607)
                                              Western Environmental Law Center
                                              4107 NE Couch St.
                                              Portland, OR 97232
                                              (503) 914-1323 | Phone
                                              brown@westernlaw.org

                                              Sangye Ince-Johannsen (OSB #193827)
                                              Western Environmental Law Center
                                              120 Shelton McMurphey Blvd, Ste 340
                                              Eugene, OR 97401
                                              (541) 778-6626 | Phone
                                              sangyeij@westernlaw.org

                                              Attorneys for Plaintiffs




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